                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                            CASE NO. 3:21-CV-107-GCM

 SNEHA AMIN,

        Plaintiff,

        v.

 ALEJANDRO MAYORKAS, Secretary of U.S.
 Department of Homeland Security,
 MERRICK GARLAND, Attorney General of the
 United States, TRACY RENAUD, Senior Official
 Performing the Duties of the Director, USCIS;
 CHRISTOPHER HEFFRON, District Director
 Charlotte Field Office, USCIS,

        Defendants.



                                               ORDER

       This matter coming on to be heard on motion of Defendants in the above-captioned case

that the Court 1) partially dismiss Plaintiff Sneha Amin’s Petition for a Writ in the Nature of a

Mandamus (Doc. 1) (the “Petition”), pursuant to Rule 12(b)(1) of the Federal Rules of Civil

Procedure, on grounds of failure of subject matter jurisdiction as it relates to relief under the

Administrative Procedure Act or the Mandamus Act; and 2) remand the remnant of the matter as

to which the Court does enjoy jurisdiction pursuant to 8 U.S.C. § 1447, to the United States

Citizenship and Immigration Services for adjudication; and the Court, having considered the

matter and reviewed the complaint and answer and other relevant court papers,

       IT IS THEREFORE ORDERED THAT:




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1. Subject matter jurisdiction exists pursuant to 8 U.S.C. § 1447, which provides for judicial

   review of a determination or a failure to act in connection with naturalization applications,

   like those of the Plaintiff herein;

2. The Court denies all other asserted bases of jurisdiction, including jurisdiction with respect

   to the Administrative Procedure Act and/or the Mandamus Act, and dismisses any claims

   for relief in the action brought under those statutes;

3. Pursuant to 8 U.S.C. § 1447(b), the Court hereby remands the remnant of this matter, over

   which it now exercises jurisdiction, to the United States Citizenship and Immigration

   Services for adjudication forthwith.




                                         Signed: December 1, 2021




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